          Exhibit 63




Case 1:14-cv-00954-LCB-JLW Document 166-14 Filed 01/18/19 Page 1 of 3
              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
       Civil Action No. 1:14-CV-00954-LCB-JLW


STUDENTS FOR FAIR
ADMISSIONS, INC.,
                          Plaintiff,
     vs.
UNIVERSITY OF
NORTH CAROLINA, et al.,
                          Defendants.


                _______________________________
                         AMENDED DEPOSITION
                                OF
                          YOLANDA COLEMAN
    THIS DEPOSITION CONTAINS HIGHLY CONFIDENTIAL AND
 PROPRIETARY INFORMATION AND IS SUBJECT TO A PROTECTIVE
   ORDER RESTRICTING PUBLIC DISCLOSURE OF ITS CONTENTS
             _______________________________



TAKEN AT:
UNIVERSITY OF NORTH CAROLINA AT CHARLOTTE
Cato Hall, Room 356
9135 Mary Alexander Road
Charlotte, North Carolina 28223
Winston-Salem, NC 27103

                              06-23-17
                              9:02 A.M.
                   __________________________
                            Kelli Rapp
                          Court Reporter

                   Civil Court Reporting, LLC
                           P.O. Box 1146
                       Clemmons, NC 27012
                         (336) 406-7684



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Deposition of Yolanda Coleman                                   Students for Fair Admissions v. UNC, et al.

   1         the plan also established, as an institutional

   2         goal, the achievement of critical masses of

   3         underrepresented populations, since the absence of

   4         such critical masses impedes the educational

   5         process and can place undue pressure on

   6         underrepresented students and interfere with all

   7         students experiencing the educational benefits of

   8         a diverse learning environment."

   9                   Q.        Thanks.   Are you familiar with this term

 10          "critical mass?"

 11                    A.        No.

 12                    Q.        No?   Is it a term that was used in the

 13          admissions office?

 14                    A.        No, not that I recall.

 15                    Q.        You never got any guidance about it?

 16                    A.        No.

 17                    Q.        Does it have any meaning to you?

 18                    A.        In this context?

 19                    Q.        Yeah.

 20                    A.        No.

 21                    Q.        No?   Okay.   Can you turn to page -- I

 22          guess it's the sixth page.              I know these aren't

 23          numbered, at the bottom it's number 15, the page

 24          number.            Do you see towards the bottom where it

 25          says "Race, Ethnicity, and National Origin?"

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